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lN '[`HE UNITED S'l"A'l`ES DISTRICT C()URT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

Page|D 375

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05 JURZ Pli 3: ib

 

 

JOHN N. HOOPER,
Plaintiff,
\l'm

PUBLIC PROPERTIES

l\/IANAGEMENT, INC. (PPM, INC.),

PPl\/l l PARTNERSHIP, L.P.,

PPM IV PA_RTNERSHlP. L.P_,

PPM V PARTNERSHIP, L.P.,

PPM VIII PARTNERSHIP, L.P.,

DAVlD S. WOLFE_, INDIVIDUALLY
AND ll\l l~IlS OFFICIAL CAPACITY,
H_AROLD E. SMITH, DAVE W.

DOGAN, STEPHEN SMI.TH,

L-AUREN L. REAGER, WELLS FARGO
BANK AS TRUSTEE OF THE LAUREN L.
REAGER_, M.D. PENSION PLAN TRUST,
SUNBURST BOLTON, LLC,

l\/HCHAEL JONES_1 AND KENNETH JONES,

\_/\._/\._,/\../\_/\._/\._/\_/W`/\_/\_/\_/-_/~._/\_/\_/~../\_/\,/\_,/\_,/\_../

Defendants.

Civil Action No.
00CV2863-l\/I/BRE

       

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RULE 16(b) SCHEDULING OR])ER

 

Pursuant to written notice and Federal Rule oi`Civil Procedure lé(b), a scheduling

conference was held on May 2, 2005. Present were Richard .l. Pober and Gordon B. Olswing__

counsel for Plaintiff; and the following counsel for the Various Det`endants: Roberl E_ Craddocl<,

Jel`frey K. Fleisl"nnann, Seymour S. Rosenberg: Randall Leff, .lonathan P. l.al<ey, `l. Alan

Hano\/erq and james R. Newsom, lll. At the cont`erence. the following dates were established as

the final dates for:

(A) COMPLETING ALL DISCOVERY:

November l. 2005

with Hule 58 and/or 79(&1) FHCP on f

Thls document entered on the docket sheet fn compliance W

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(B) EXPERT WITNESS DISCLOSURES (Rule 26):

(l) DISCLOSURE ()F PLAINTIFF’S RULE 26 EXPERT INFORMATION:
July 15, 2005

(2) DlSCLOSURE OF DEFENDANTS’ RULE 26 EXERT INFORMATION:
August 15, 2005

(3) DISCLOSURE OF REBUTTAL EXPERT INFORMATION (limited to
issues initially raised in Defendants’ Disclosures): September l. 2005

t¢l) EXPERT WITNESS DEPOSITIONS: November l. 2005
(Cl FILING DISPOSlTl\/E l\/[OTIONS: ()ctober l7._ 2005

(_D) PRETRIAL DISCLOSURES (Rule 26): October 28 2005

 

(E) COURT-MANDATED SCHEDULE:
(_l) PRETRIAL ORDER: Mondav November 14, 2005, at 4:30 p.m.

(2) PRETRIAL CONFERENCE: Mondav, November 21. 2005_ at 9:00 a.ln.

 

(3) TRlAL: Monday. November 28, 2005, at 9:30 a.m.

 

OTHER RELEVAN'I` l\/IATTERS:

No depositions may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of` the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

l\/lotions to compel discovery are to be filed and served by the discovery deadline or
within thirty (30) days 0f.` the default or the service of the response, answer, or objection_, which is
the subject of`thc motion, if` the default occurs within 30 days of the discovery deadline, unless
the time f`or filing of such motion is extended for good cause shown, or the objection to the

def`ault, rcsponse, answer_, or objection shall be waived.

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Th.is case is set for .IURY TRIAL, and the trial is expected to last 8 days 'l`he pretrial
order date, pretrial conference date, and trial date have been set by the presiding judge

This case is appropriate for ADR. The parties have agreed to engage in private mediation
during the latter part of`August 2005 or at such other mutually agreeable time as the mediation
may be arranged Thc parties are directed to engage in court-annexed attorney mediation or
private mediation.

The parties are reminded that pursuant to Local Rule l l(a)(l )(A), all motions, except
motions pursuant to f ed R. i'v. P 12 56 59 and 60 shall be accompanied by a proposed order.

'fhe opposing party may file a response to any motion filed in this matter. Neither party
may file an additional reply. however, without leave of the court lfa party believes that a repl_\
is necessary, it shall file a motion for leave to file a reply accompanied by a inemorant;luin setting
forth the reasons for which a reply is required

The parties have not consented to trial before the magistrate judge

"fhis order has been entered after consultation with trial counsel pursuant to notice.

Absent good cause shown, the scheduling dates set by this order will not be modified or

aaa ittth

JON McCALLA
UNI D STATES DISTRICT JUDGE

extended

lT lS SO ORDERED.

 

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DATE; \}W\‘L 22_,296€

 

 

ESTENR 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 458 in
case 2:00-CV-02863 was distributed by faX, mail, or direct printing on
J unc 23, 2005 to the parties listed.

EsSEE

 

Gordon B. Olswing

CHARLES R. PERKINS LAW OFFICES
100 N. Main

Suite 2626

1\/1emphis7 TN 38103

Robert E. Craddock

WYATT TARRANT & COl\/IBS
P.O. Box 775000

1\/1emphis7 TN 38177--500

.l ames R. Newsom

HARRIS SHELTON HANOVER V\MLSH7 PLLC.

One Commerce Square
Ste. 2700
1\/1emphis7 TN 38103--255

.lonathan P. Lakey
PIETRANGELO COOK
64 1 0 Poplar

Ste. 190

1\/1emphis7 TN 38119

John K. Walsh

HARRIS SHELTON HANOVER WALSH7 PLLC
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

.l. Alan Hanover

HARRIS SHELTON HANOVER WALSH7 PLLC
One Commerce Square

Ste. 2700

1\/1emphis7 TN 38103

Seymour S. Rosenberg
ROSENBERG LAW OFFICE
371 Carroll Ave.

1\/1emphis7 TN 38105

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Charles R. Perkins

LAW OFFICE OF CHARLES R. PERKINS
100 N. Main St.

Ste. 2626

1\/1emphis7 TN 38103

Jeffrey K. Fleishmann

WYATT TARRANT & COl\/IBS, LLP- Memphis
1715 Aaron Brenner Dr.

Ste. 800

1\/1emphis7 TN 38120

Stephen Smith
3904 Auburn Rd
Phonix City7 AL 36870

Dave W. Dogan
7191 Kingsland
1\/1emphis7 TN 38125

Harold E. Smith
4824 Stone Park Blvd
Olive Branch, MS 38654

P. Preston Wilson

GOTTEN WILSON & SAVORY
200 Jefferson Avenue

Ste. 900

1\/1emphis7 TN 38103

Richard .l. Pober

POBER ROSS & PASQUINI
P.O. Box 710

V\lestport7 CT 06881

Honorable .l on McCalla
US DISTRICT COURT

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